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                                      United States Bankruptcy Court
                                      Southern District of Florida
In re:                                                                                 Case No. 11-11531-LMI
Angela Gomez                                                                           Chapter 13
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 113C-1          User: rodriguez              Page 1 of 2                   Date Rcvd: Apr 25, 2016
                              Form ID: CGFD40              Total Noticed: 34


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 27, 2016.
db             +Angela Gomez,    5380 W 20 Ln #28,    Hialeah, FL 33016-7013
cr             +CitiMortgage, Inc.,    Roberston, Anschutz & Schneid, P.L.,     6409 Congress Ave.,  Suite 100,
                 Boca Raton, FL 33487-2853,     UNITED STATES
cr             +EMC Mortgage Corporation,    c/o Connie J Delisser,    1800 NW 49 St #120,
                 Fort Lauderdale, FL 33309-3092
cr             +JPMorgan Chase Bank, N.A.,     201 S Biscayne Blvd 28 FL,    Miami, FL 33131-4309
cr              Nationstar Mortgage,    PO Box 829009,    Dallas, TX 75382-9009
cr             +U.S. Bank National Association, as Trustee,     Shapiro & Fishman,
                 c/o Kenneth W. Lockwood, Esq.,     4630 Woodland Corporate Blvd. Suite 100,
                 Tampa, FL 33614-2429
88907904        Bank of America,    POB 45144,    Jacksonville, FL 32232-5144
89064341       +Chase Bank USA, N.A.,    c/o Creditors Bankruptcy Service,     P.O. Box 740933,
                 Dallas, TX 75374-0933
89854732        CitiMortgage, Inc.,    P.O. Box 688971,    Des Moines, IA,    50368-8971
88961858        Fifth Third Bank,    P.O. Box 829009,    Dallas, TX 75382-9009
89099075       +JP Morgan Chase Bank, N.A.,     c/o Edward J. O’Sheehan, Esq.,    1500 Miami Center,
                 201 South Biscayne Boulevard,     Miami, Florida 33131-4332
89368599       +NATIONSTAR MORTGAGE,    POST OFFICE BOX 829009,    DALLAS, TEXAS 75382-9009

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             EDI: FLDEPREV.COM Apr 25 2016 23:48:00       Florida Department of Revenue,     POB 6668,
                 Bankruptcy Division,    Tallhassee, FL 32314-6668
ust            +E-mail/Text: USTPRegion21.MM.ECF@usdoj.gov Apr 26 2016 00:12:05        Office of the US Trustee,
                 51 S.W. 1st Ave.,    Suite 1204,    Miami, FL 33130-1614
cr             +EDI: BASSASSOC.COM Apr 25 2016 23:53:00       HSBC Bank Nevada, N.A.,     Bass & Associates, P.C.,
                 c/o Patti H Bass,    3936 E. Ft. Lowell Rd., # 200,     Tucson, AZ 85712-1083
88925679        EDI: AIS.COM Apr 25 2016 23:48:00       American Infosource Lp As Agent for Wfnnb,
                 As Assignee of,    New York & Co Mastercard,    PO Box 248872,    Oklahoma City, OK 73124-8872
88925680        EDI: AIS.COM Apr 25 2016 23:48:00       American Infosource Lp As Agent for Wfnnb,
                 As Assignee of,    Victoria’s Secret,    PO Box 248872,    Oklahoma City, OK 73124-8872
89618831       +EDI: OPHSUBSID.COM Apr 25 2016 23:48:00       Back Bowl I, LLC,    c/o Weinstein & Riley, P.S.,
                 2001 Western Ave., Ste. 400,     Seattle, WA 98121-3132
89163695       +EDI: BANKAMER.COM Apr 25 2016 23:53:00       Bank of America, N.A.,    P. O. Box 26012,
                 NC4-105-03-14,    Greensboro, NC 27420-6012
88907905        EDI: RMSC.COM Apr 25 2016 23:53:00       Brandsmart/GEMB,    POB 981439,    El Paso, TX 79998-1439
88907906        EDI: CAPITALONE.COM Apr 25 2016 23:53:00       Capital One Bank USA,     POB 30281,
                 Salt Lake Ciry, UT 841300281
88907907       +EDI: CHASE.COM Apr 25 2016 23:53:00       Chase Bank USA, NA,    POB 15298,
                 Wilmington, DE 19850-5298
88907908        EDI: CITICORP.COM Apr 25 2016 23:53:00       Citibank SD NA,    POB 6241,
                 Sioux Falls, SD 571176241
88907909        EDI: DISCOVER.COM Apr 25 2016 23:48:00       Discover Card,    12 Reads Way,
                 New Castle, DE 197201649
88923647        EDI: DISCOVER.COM Apr 25 2016 23:48:00       Discover Bank,    Discover Products Inc.,
                 PO Box 3025,    New Albany, OH 43054-3025
89429814        EDI: RMSC.COM Apr 25 2016 23:53:00       GE Money Bank,    Attn: Bankruptcy Department,
                 PO Box 960061,    Orlando FL 32896-0661
88907910        EDI: HFC.COM Apr 25 2016 23:53:00       HSBC Best Buy,    POB 15518,   Wilmington, DE 198505518
91579267        EDI: JEFFERSONCAP.COM Apr 25 2016 23:53:00       JEFFERSON CAPITAL SYSTEMS LLC,     PO BOX 7999,
                 ST CLOUD MN 56302
88907911       +EDI: CBSKOHLS.COM Apr 25 2016 23:48:00       KOHLS/Chase,    N56W17000 Ridgewood Dr,
                 Menomonee Falls, WI 53051-7096
88907912        EDI: TSYS2.COM Apr 25 2016 23:53:00       Macys/DSNB,    POB 8218,   Mason, OH 450408218
88940363       +E-mail/Text: bncmail@w-legal.com Apr 26 2016 00:12:25        TARGET NATIONAL BANK,
                 C O WEINSTEIN AND RILEY, PS,     2001 WESTERN AVENUE, STE 400,    SEATTLE, WA 98121-3132
88907913        EDI: WTRRNBANK.COM Apr 25 2016 23:53:00       Target National Bank,    C/O Target Credit Services,
                 POB 673,   Minneapolis, MN 55440-0673
88907914        EDI: WFNNB.COM Apr 25 2016 23:53:00       WFNNB/New York & Company,    POB 182789,
                 Columbus, OH 432182789
88907915        EDI: WFNNB.COM Apr 25 2016 23:53:00       WFNNB/Victoria’s Secret,    POB 182789,
                 Columbus, OH 432182789
                                                                                                TOTAL: 22

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*            +Back Bowl I, LLC,   c/o Weinstein & Riley, P.S.,    2001 Western Ave. Ste. 400,
                 Seattle, WA 98121-3132
cr*           ++JEFFERSON CAPITAL SYSTEMS LLC,   PO BOX 7999,    SAINT CLOUD MN 56302-7999
               (address filed with court: Jefferson Capital Systems LLC,     PO BOX 7999,
                 ST CLOUD, MN 56302-9617)
                                                                                             TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.
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                                      Form ID: CGFD40                    Total Noticed: 34


             ***** BYPASSED RECIPIENTS (continued) *****

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 27, 2016                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 25, 2016 at the address(es) listed below:
              Connie J Delisser, Esq.    on behalf of Creditor   EMC Mortgage Corporation
               cdelisser@mlg-defaultlaw.com, mlgfl-bk@mlg-defaultlaw.com
              Joe M Lozano, Esq   on behalf of Creditor    Nationstar Mortgage notice@bvwlaw.com
              Kenneth W. Lockwood, Esq.    on behalf of Creditor   U.S. Bank National Association, as Trustee
               bk@exllegal.com
              Melbalynn Fisher    on behalf of Creditor    CitiMortgage, Inc. mfisher@rasflaw.com,
               bkyecf@rasflaw.com;bky_ecf1@rasflaw.com
              Nancy K. Neidich   e2c8f01@ch13herkert.com, ecf2@ch13herkert.com
              Office of the US Trustee    USTPRegion21.MM.ECF@usdoj.gov
              Patti H Bass   on behalf of Creditor    HSBC Bank Nevada, N.A. ecf@bass-associates.com
              Robert Sanchez, Esq     on behalf of Debtor Angela Gomez court@bankruptcyclinic.com,
               courtECFmail@gmail.com
                                                                                             TOTAL: 8
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Form CGFD40 (9/19/08)




ORDERED in the Southern District of Florida on April 25, 2016




                                                                                                 Laurel M Isicoff
                                                                                                 United States Bankruptcy Judge




                                           United States Bankruptcy Court
                                                        Southern District of Florida
                                                          www.flsb.uscourts.gov
                                                                                                                        Case Number: 11−11531−LMI
                                                                                                                        Chapter: 13
In re: *
Angela Gomez
5380 W 20 Ln #28
Hialeah, FL 33016

Last four digits of SSN/ITIN or Complete EIN: xxx−xx−1836




                                 DISCHARGE OF DEBTOR AFTER COMPLETION
                                          OF CHAPTER 13 PLAN


It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:
1. The debtor is granted a discharge under section 1328(a) of title 11, United States Code, (the
Bankruptcy Code).

2. (If applicable) The Employee Wage Deduction Order(s) entered in this case is/are terminated.


                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.

Copies to: All Parties of record


* Set forth all names, including trade names, used by the debtor(s) within the last 8 years. For joint debtors, set forth the last four digits of both
social−security numbers or individual taxpayer−identification numbers (ITIN) or complete employer tax−identification numbers (EIN).
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                EXPLANATION OF BANKRUPTCY DISCHARGE IN A CHAPTER 13 CASE
                          AFTER COMPLETION OF PLAN PAYMENTS

     This court order grants a discharge to the person named as the debtor after the debtor has completed all
payments under the chapter 13 plan. It is not a dismissal of the case.
Collection of Discharged Debts Prohibited
      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 13 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt is provided for by the chapter 13 plan or is disallowed by the court
pursuant to section 502 of the Bankruptcy Code.

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 13 bankruptcy case are:

      a. Domestic support obligations;

      b. Debts for most student loans;

      c. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      d. Debts for personal injury or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;
      e. Debts for restitution, or damages, awarded in a civil action against the debtor as a result of malicious or
      willful injury by the debtor that caused personal injury to an individual or the death of an individual (in a case
      filed on or after October 17, 2005);

      f. Debts provided for under section 1322(b)(5) of the Bankruptcy Code and on which the last payment is due
      after the date on which the final payment under the plan was due;

      g. Debts for certain consumer purchases made after the bankruptcy case was filed if prior approval by the
      trustee of the debtor's incurring the debt was practicable but was not obtained;

      h. Debts for most taxes to the extent not paid in full under the plan (in a case filed on or after October 17,
      2005); and
      i. Some debts which were not properly listed by the debtor (in a case filed on or after October 17, 2005).

       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.



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